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                IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA,          :
                                   :
                Plaintiff,         :
                                   :         CRIMINAL ACTION
          vs.                      :
                                   :         NO. 1:01-CR-643-RWS
CHARLES R. SANTA MARIA, JR.,       :
                                   :
                Defendant.         :

                      SATISFACTION OF MONETARY
                         PORTION OF JUDGMENT

    The special assessment, fine and/or restitution portion of the

judgment in the above entitled case having been paid, the Clerk of

the United States District Court for the Northern District of

Georgia is hereby authorized and empowered to satisfy and cancel

said portion of record.

                                 Respectfully submitted,

                                 DAVID E. NAHMIAS
                                 UNITED STATES ATTORNEY



                                 /s/CYNTHIA B. SMITH
                                 ASSISTANT UNITED STATES ATTORNEY
                                 Georgia Bar No. 655473

                                 600 United States Courthouse
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    Case 1:01-cr-00643-RWS-LTW Document 61 Filed 10/02/06 Page 2 of 2




                       CERTIFICATE OF SERVICE

     This is to certify that I have this day electronically filed

the within and foregoing document with the Clerk of Court using the

CM/ECF system and that I have served the following non-CM/ECF

participant(s) by hand delivery a copy of the same addressed as

follows:

                Charles R. Santa Maria, Jr.,
                370 Eastcote Drive
                Atlanta, GA 30350

This 29th day of September, 2006 .




                                 /s/CYNTHIA B. SMITH
                                 ASSISTANT U.S. ATTORNEY
                                 cynthia.smith2@usdoj.gov
